







		NO. 12-08-00348-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: REGINALD SLACK,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


	Reginald Slack complains that the Anderson County District Clerk has failed to respond to 
a letter Slack sent her regarding a pending motion and seeks a writ of mandamus requiring the trial
court to answer this correspondence.

	Mandamus is an extraordinary remedy and was intended to be available "only in situations
involving manifest and urgent necessity and not for grievances that may be addressed by other
remedies."  Walker v. Packer, 827 S.W.2d 833, 840 (Tex.1992) (orig. proceeding).   For Slack to
be entitled to mandamus relief against the trial court, he must meet two requirements.  First, he must
show that the trial court clearly abused its discretion.  Id.  Second, he must show that he lacks an
adequate remedy at law, such as an ordinary appeal.  See id.  In his mandamus petition, Slack
implicitly asserts that the trial court has a duty to answer correspondence sent to the district clerk and
has not done so, thereby abusing its discretion.  However, he cites no authority for this proposition,
and we are not aware of any.  Therefore, we cannot conclude that the trial court abused its discretion
by failing to answer a letter addressed to the district clerk.

	Even if Slack had sought mandamus relief against the district clerk, he could not prevail
under the facts presented here.  A court of appeals has the authority to issue writs of mandamus
against a judge of a district or county in the court of appeals district and all writs necessary to enforce
its jurisdiction.  Tex. Gov't Code Ann. § 22.221 (Vernon 2004).  In order for a district clerk to fall
within our jurisdictional reach, it must be established that the issuance of the writ of mandamus is
necessary to enforce our jurisdiction.  See id.; In re Coronado, 980 S.W.2d 691, 692-93 (Tex.
App.-San Antonio 1998, orig. proceeding).  The information furnished in this proceeding does not
demonstrate mandamus authority against the district clerk would be appropriate to enforce our
jurisdiction.  Consequently, we are without authority to issue a writ of mandamus requiring the
district clerk to answer Slack's letter.

	Because Slack has not shown he is entitled to mandamus relief, his petition for writ of
mandamus is denied.




								     SAM GRIFFITH    

									  Justice



Opinion delivered September 10, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.










(PUBLISH)


